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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF WYOMING


                                                  )
                                                  )
CUSTODIA BANK, INC.,                              )
                                                  )
              Plaintiff,                          )
                                                  )     Case No. 1:22-cv-00125-SWS
              v.                                  )
                                                  )
BOARD OF GOVERNORS OF                             )
THE FEDERAL RESERVE SYSTEM &                      )
FEDERAL RESERVE BANK                              )
OF KANSAS CITY,                                   )
                                                  )
                                                  )
              Defendants.                         )
                                                  )


 DEFENDANT BOARD OF GOVERNORS OF THE FEDERAL RESERVE SYSTEM’S
     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS
                      MOTION TO DISMISS
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                                        INTRODUCTION

       This case involves a single entity’s demand to dictate the timing and substance of

decisions in the complex and rapidly developing areas of novel bank charters and

cryptocurrency. Although lack of care and diligence in such decisions would hinder sound

development in this sphere and pose substantial risks to the U.S. financial system—and the

request at issue in this action remains in active process—plaintiff elevates its short-term interests

above all else to claim an entitlement to its preferred outcome on its preferred timeline.

Plaintiff’s demands are non-justiciable, unsupported by the law, and must be rejected.

       Plaintiff, Custodia Bank, Inc., alleges an “unlawful delay in processing an application

critical to Custodia’s business” of cryptocurrency banking. Compl. ¶¶ 2, 29. It contends that,

“[f]or more than 19 months, [d]efendants have refused to act upon Custodia’s application for a

master account with the Federal Reserve,” id., and that “the statute commands” that it be granted

access to a master account. Id. ¶ 3. But as shown below, no statute “commands” the Board of

Governors of the Federal Reserve System (“Board”) to direct the Federal Reserve Bank of

Kansas City (“FRBKC”) to open a master account for plaintiff (or for any other particular

entity), or for FRBKC to do so, much less on the specific timetable demanded by plaintiff.

       Notably, the Board, a federal agency, does not exercise deposit-taking functions and

would not be an appropriate defendant even if plaintiff had any cognizable claims (and it does

not). Rather, the relevant provision of the Federal Reserve Act gives the twelve regional Federal

Reserve Banks, including FRBKC, discretion in accepting deposits, the essential activity of a

master account, and therefore discretion over whether to issue—or, in appropriate circumstances,

revoke—such accounts. This is consistent with the role of Reserve Banks, which by design

perform many functions traditionally associated with banking, such as deposit taking and directly



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lending to institutions, and reflects Congress’s careful construction of the Federal Reserve

System. Although the Board publishes guidance and exercises general supervisory authority

over Reserve Banks, it has not been tasked with deciding individual master account requests.

Rather, Congress chose to vest that authority directly in the Reserve Banks and imposed no fixed

timeline by which such decisions must be made. Where, as here, such decisions are precedent-

setting and involve complex and novel institutions and financial instruments that may present

systemic financial risks, Reserve Banks appropriately treat them with the care and diligence that

prudence dictates and the law permits. The Court should dismiss this action as a result.

                                        BACKGROUND

       A.      The Federal Reserve

       The Federal Reserve System, the nation’s central bank, was established in 1913 by the

Federal Reserve Act, 12 U.S.C. § 221 et seq. (“FRA”). It consists of the Board, the Federal

Open Market Committee (“FOMC”), and twelve Federal Reserve Banks that serve financial

institutions in their respective districts. Fasano v. Fed. Reserve Bank of N.Y., 457 F.3d 274, 277

(3d Cir. 2006). The Board is a federal agency whose members are appointed by the President

and confirmed by the Senate. 12 U.S.C. § 241. Beyond exercising rulemaking authority, which

may not be delegated, 12 U.S.C. §§ 248(i), (k), and carrying out other functions mandated by

Congress, the Board exercises general supervisory authority over Reserve Banks. See generally

12 U.S.C. §§ 248(a)(1), (f), (h)-(j); 305; 341(5); 485; McKinley v. Bd. of Governors of the Fed.

Reserve Sys., 647 F.3d 331, 333 (D.C. Cir. 2011) (describing Board and Reserve Banks).

       By contrast, the twelve regional Reserve Banks serve as the System’s “operating arms,”

carrying out a variety of functions subject to the general supervisory authority of the Board. See

The Federal Reserve System, The Fed Explained 8, 10-11 (11th ed. Aug. 2021) (the “Fed



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Explained”).1 Reserve Banks perform certain functions vested in them by statute, 12 U.S.C.

§§ 341-61, 391‐95, and other functions by Board delegation. 12 U.S.C. § 248(k). Most notably

for present purposes, Reserve Banks are expressly authorized by statute (rather than Board

delegation) to provide various services in their capacity as “bankers’ banks.” Fed. Reserve Bank

of St. Louis v. Metrocentre Improvement Dist., 492 F. Supp. 353, 355 (E.D. Ark. 1980) (quoting

H.R. Report No. 69, 63d Cong., 1st Sess. 16 (1913) (“1913 House Report”)); see generally 12

U.S.C. §§ 341-61. They operate a wire transfer system, clear checks for depository institutions,

distribute currency and coin, extend mainly short-term credit to depository institutions, and serve

as depositories for banks within their districts, among other functions. Fed Explained at 10-11.

         Each Reserve Bank is a separate corporation with its own board of directors that appoints

officers to run the Bank’s day-to-day operations. See 12 U.S.C. § 341 (Reserve Banks are “a

body corporate”).2 Reserve Banks can make contracts, adopt bylaws, and sue and be sued. Id.

§ 341 (enumerating powers of Federal Reserve Banks). The courts have repeatedly made clear

that Reserve Banks are instrumentalities3 separate from federal agencies, including the Board.

See, e.g., U.S. Shipping Bd. Emergency Fleet Corp. v. W. Union Tel. Co., 275 U.S. 415, 425-26

(1928) (“Instrumentalities like . . . the federal reserve banks, in which there are private interests,

are not departments of the Government. They are private corporations in which the Government

has an interest.”); Scott v. Fed. Reserve Bank of Kan. City, 406 F.3d 532, 535 (8th Cir. 2005) (“it

is possible to be a fiscal agent or instrumentality of the government without being a federal



1
    https://www.federalreserve.gov/aboutthefed/files/the-fed-explained.pdf#page=8.
2
 Reserve Bank presidents and first vice-presidents are appointed subject to Board approval.
12 U.S.C. § 341(fifth).
3
 See Compl. ¶ 112 (“[t]he Kansas City Fed is a federal instrumentalit[y] that acts as a fiscal
agent[] of the United States” (quotations omitted)).
                                                   3
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agency”); see also Melcher v. FOMC, 644 F. Supp. 510, 521 (D.D.C. 1986), aff’d, 836 F.2d 561

(D.C. Cir. 1987) (“Ever since the birth of this nation, the regulation of the nation’s monetary

systems has been governed by a subtle and conscious balance of public and private elements.”).

       While exercising “significant supervisory authority over Reserve Banks,” McKinley,

647 F.3d at 333, the Board does not direct their day-to-day operations. See Lewis v. United

States, 680 F.2d 1239, 1241 (9th Cir. 1982) (“[i]t is evident from the legislative history of the

Federal Reserve Act that Congress did not intend to give the federal government direction over

the daily operation of the Reserve Banks”) (citing 1913 House Report at 18-19). Indeed, the

legislative history of the FRA provides that while the Board “shall retain sufficient power over

the reserve banks to enable it to exercise direct authority when necessary,” the Board “shall in no

way attempt to carry on . . . the routine operations and banking which require detailed knowledge

of local and individual credit and which determine the funds of the community in any given

instance.” 1913 House Report at 18-19.

       B.     Master Accounts and the Board’s Guidelines Regarding Access

       A master account is a deposit account maintained by a depository institution at its

regional Reserve Bank. It “is both a record of financial transactions that reflects the financial

rights and obligations of an account holder and of the Reserve Bank with respect to each other,

and the place where opening and closing balances are determined.”4 As deposit accounts, master

accounts are governed by FRA § 13, 12 U.S.C. § 342, which provides that “[a]ny Federal reserve

bank may receive from any of its member banks, or other depository institutions . . . deposits of

current funds in lawful money . . . .” Id.

       The Board, a federal agency and not a bank, has neither the ability nor statutory authority


4
 Reserve Maintenance Manual, https://www.federalreserve.gov/monetarypolicy/reserve-
maintenance-manual-account-structure.htm (last updated Nov. 20, 2019).
                                                 4
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to receive deposits or carry out activities such as check clearing, wire transfers, automated

clearing house (“ACH”) services, currency and coin services, and other services appurtenant to

the business of banking that Congress has vested in the Reserve Banks. See, e.g., 12 U.S.C.

§§ 342, 343, 347, 347c, 347d, 355(1). In supervising and overseeing the activities of the Reserve

Banks, see generally id. § 248(j), the Board may issue guidance with regard to opening master

accounts and providing services, but the Board itself has no ability to open a master account and

with one limited exception5 does not grant or deny a particular financial institution’s request to

open any account. Rather, Congress has vested that authority in the Reserve Banks.

       Operating Circulars, issued by Reserve Banks and subject to approval by the Board, and

other guidance make clear that a master account creates a contractual relationship between a

requesting depository institution and the Reserve Bank to which the Board is not a party. For

example, Operating Circular 1 (“OC-1”)6 “set[s] forth the terms under which a Financial

Institution may open, maintain and terminate” a master account with a Reserve Bank, id. at 1,

and does not list the Board as a party to the account relationship or state that Board approval is

necessary. Access to master accounts is a matter of substantial concern to the Board and entire

Federal Reserve System, however, as they provide a gateway to the Federal Reserve’s balance

sheet—which is used to promote financial stability and conduct monetary policy—as well as its

payment systems. See generally Janet L. Yellen, The Federal Reserve’s Monetary Policy

Toolkit: Past, Present, and Future (Aug. 26, 2016) (explaining how ability “to pay interest on

banks’ reserve balances” held in Reserve Bank accounts is “essential” to the “expanded toolkit”



5
 The only instance where the Board can make account access determinations concerns opening a
master account for Designated Financial Market Utilities. See 12 U.S.C. § 5465.
6
 Operating Circular 1, Account Relationships (Aug. 16, 2021), https://www.frbservices.org/
binaries/content/assets/crsocms/resources/rules-regulations/081621-operating-circular-1.pdf.
                                                 5
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of monetary policy and can “allow the Federal Reserve to control short-term interest rates”).7

         Consistent with its general supervisory function, and in light of the rapidly changing

landscape of novel charters, digital assets, and increased efforts to obtain access to the Federal

Reserve balance sheet and payment systems, in May 2021 the Board requested comments on

proposed Account Access Guidelines for use by Reserve Banks in evaluating requests for master

accounts and access to Reserve Bank services. Proposed Guidelines for Evaluating Account and

Services Requests, 86 Fed. Reg. 25,865, 25,866 (May 11, 2021) (“Proposed Guidelines”). Apart

from furthering policy goals of “ensuring the safety and soundness of the banking system,”

“effectively implementing monetary policy,” “promoting financial stability,” “protecting

consumers,” and “promoting a safe, efficient, inclusive, and innovative payment system,” the

Proposed Guidelines sought to “ensure that Reserve Banks evaluate a transparent and consistent

set of factors when reviewing requests for accounts and services.” Id. To this end, the Board

requested comment on six principles for use by Reserve Banks in evaluating requests against the

backdrop of a rapidly evolving payments landscape. Id. at 25,866-70. It noted that review of

access requests by federally insured institutions (which are also federally regulated and

supervised) would usually be “fairly straightforward,” but requests from other institutions might

“require more extensive due diligence.” Id. at 25,866. Importantly, the Proposed Guidelines

would not disturb the Reserve Banks’ “discretionary authority to grant or deny requests.” Id.

         On March 8, 2022, the Board issued a supplemental notice and request for comment

updating the Proposed Guidelines. Guidelines for Evaluating Account and Service Requests, 87

Fed. Reg. 12,957 (Mar. 8, 2022) (“Supplemental Notice”). The Supplemental Notice requested

comment on a proposal to incorporate a three-tiered review framework into the previously



7
    https://www.federalreserve.gov/newsevents/speech/yellen20160826a.htm.
                                                  6
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proposed six principles in order “to provide additional clarity on the level of due diligence and

scrutiny to be applied to requests for Reserve Bank accounts and services.” Id. at 12,957. Under

the proposed three-tiered review framework: 1) federally insured institutions would be subject to

a more streamlined review because they “are already subject to a standard, strict, and

comprehensive set of federal banking regulations”; 2) eligible institutions that are not federally

insured, but subjected to federal prudential supervision, would receive an “intermediate” level of

review; and 3) eligible institutions that are neither federally insured nor subject to federal

prudential supervision would be subject to the strictest level of review. Id. at 12,962.8

         On August 15, 2022, the Board issued its final Guidelines for Evaluating Account and

Service Requests (“Account Access Guidelines” or “Guidelines”).9 Section 1 of the Guidelines

adopted the six principles for use by Reserve Banks in evaluating requests for master accounts

and access to Reserve Bank services. Id. at 30, 34-46. In Section 2, the three-tiered framework,

the Board made changes in response to comments to provide “more comparable treatment

between non-federally insured institutions chartered under state and federal law.” Id. at 8. The

Board revised Tier 2 to include a narrower set of uninsured national banks and “emphasize[d]

that the review of institutions’ requests will be completed on a case-by-case, risk-focused basis

within each of the three tiers.” Id. The Board also recognized that “Reserve Banks may take

comparatively longer to review access requests by institutions that engage in novel activities for

which authorities are still developing appropriate supervisory and regulatory frameworks.” Id.

         The Guidelines highlighted the range of comments received on the proposal. While some

commenters recommended “provid[ing] an easier path for institutions, particularly those with


8
 FRBKC has indicated an intention to consider any guidelines issued by the Board when
evaluating plaintiff’s request for a master account. See Compl. ¶ 49.
9
    https://www.federalreserve.gov/newsevents/pressreleases/files/other20220815a1.pdf.
                                                  7
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novel charters, to successfully gain access to accounts and services,” id. at 10, others argued that

institutions with novel charters should face greater scrutiny. These commenters noted “that

institutions with novel charters are not subject to the same strict and costly regulations or to the

same rigorous reviews as apply to traditional institutions.” Id. at 11. In issuing the Guidelines,

the Board carefully considered all comments and sought to balance “responsible innovation and

prudent risk management,” id., while providing Reserve Banks “a consistent, comprehensive,

and transparent framework . . . to analyze access requests on a case-by-case . . . basis reflecting

the institution’s full risk profile.” Id. at 12. As stated in the Proposed Guidelines and reiterated

in the final Guidelines, “Reserve Banks . . . retain the discretion to deny a request for access to

accounts and services where, in the Reserve Bank’s assessment, granting access to the institution

would pose risks that cannot be sufficiently mitigated.” Id.

       C.      Custodia’s Novel Structure and Risks

       In 2019 Wyoming created a new type of state charter called a Special Purpose Depository

Institution (“SPDI”). According to plaintiff, SPDIs are “designed to provide a bridge connecting

digital asset companies to the U.S. payment systems” and “to provide custody services for digital

assets such as Bitcoin.” Compl. ¶¶ 28-29; Wyo. Stat. § 13-12-101, et seq. Wyoming amended

the SPDI Act in 2020, and the state’s Division of Banking promulgated regulations in 2020 and

adopted amendments to the regulations in 2021.10 SPDIs are generally prohibited from making

loans with customer deposits of fiat currency and are not required to obtain insurance from the

Federal Deposit Insurance Corporation (“FDIC”). Id.

       Plaintiff received an SPDI charter in October 2020. Compl. ¶ 10. It seeks to “provide

real-time settlement finality for U.S. dollar payments in digital asset transactions” (e.g., those


10
  See https://wyomingbankingdivision.wyo.gov/banks-and-trust-companies/special-purpose-
depository-institutions (last visited Aug. 16, 2022).
                                                  8
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involving Bitcoin and similar cryptocurrencies) and plans to offer other services “including a

tokenized, programmable U.S. dollar called Avit” (a “stablecoin”11 variation).12 Plaintiff

acknowledges that it is a novel banking institution, Compl. ¶ 114, and the careful assessment of

potential risks from the interaction of novel cryptocurrency activities and the financial system is

the subject of substantial government efforts. See, e.g., President’s Working Group on Financial

Markets, Federal Deposit Insurance Corporation, and Office of the Comptroller of Currency,

Report on Stablecoins (Nov. 2021) (addressing risks to financial stability of certain digital assets

including through destabilizing runs and disruptions in payment systems);13 Financial Stability

Board, Assessment of Risks to Financial Stability from Crypto-assets (Feb. 16, 2022).14

         Plaintiff filed a request for a master account with FRBKC on October 29, 2020, and later

initiated the separate process to become a member bank of the Federal Reserve System in 2021.

Compl. ¶¶ 34, 39. Based on their respective statutory responsibilities, FRBKC is responsible for

determining plaintiff’s account request and the Board is responsible for deciding its membership

application. Both have dedicated extensive time and resources to the consideration of these

requests through interactive processes in which supplemental information has and is being

sought from plaintiff. See id. ¶ 37 (noting regular contact through letters, calls, emails, and

meetings). These are no simple tasks, as the risks presented are real, complex, and substantial.


11
   “Stablecoins are digital assets that are designed to maintain a stable value relative to a national
currency or other reference assets.” President’s Working Group on Financial Markets, FDIC,
and Office of the Comptroller of the Currency, Report on Stablecoins, at 1 (Nov. 2021),
https://home.treasury.gov/system/files/136/StableCoinReport_Nov1_508.pdf.
12
  See https://custodiabank.com/; https://custodiabank.com/about/ (last visited Aug. 16, 2022)
(describing Avit as a “digital dollar” that will “settle with the same mechanics of a
cryptocurrency but leverage established commercial laws in a structure that addresses the
accounting, tax and legal problems of existing stablecoins”).
13
     https://home.treasury.gov/system/files/136/StableCoinReport_Nov1_508.pdf
14
     https://www.fsb.org/wp-content/uploads/P160222.pdf
                                                  9
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                                         ARGUMENT

I.     Custodia Has No Entitlement to a Master Account Decision on Its Preferred
       Timeline and Claims I (APA) and II (Mandamus Act) Fail As a Result

       Because there is no statutory obligation for FRBKC to render a decision on plaintiff’s

request for a master account within a specified timeframe or for the Board to order FRBKC to do

so, no Board action has been unlawfully withheld or unreasonably delayed.15

       A.      No Statutory Timeline Applies to Plaintiff’s Master Account Request

       Plaintiff erroneously contends that a one-year statutory deadline applies to its master

account request to FRBKC. See Compl. ¶¶ 6, 46, 74, 87, 107 (citing 12 U.S.C. § 4807). But

Section 4807’s text makes clear that it only applies to applications made to the Board, the FDIC,

or the Comptroller of the Currency. It thus does not encompass Custodia’s submission at issue,

which was necessarily made to FRBKC rather than the Board.

       Section 4807 states:

       (a) In general: Each Federal banking agency shall take final action on any
           application to the agency before the end of the 1-year period beginning on the
           date on which a completed application is received by the agency.

       (b) Waiver by applicant authorized: Any person submitting an application to a
           Federal banking agency may waive the applicability of subsection (a) with
           respect to such application at any time.

12 U.S.C. § 4807 (emphases added).16 The provision repeatedly makes clear that it only

concerns applications to a “Federal banking agency”—by its own terms it sets limits on final


15
  Plaintiff’s Claim IV, which seeks a declaration that defendants “must decide Custodia’s master
account application within a reasonable period of time,” Compl. ¶ 109, is not an independent
cause of action and fails for the various reasons stated herein. See Medtronic, Inc. v. Mirowski
Fam. Ventures, LLC, 571 U.S. 191, 199 (2014) (“[T]he . . . Declaratory Judgment Act [is] only
procedural, leaving substantive rights unchanged.” (citations omitted)).
16
   Section 4807 applies to a range of matters under the Board’s authority that, in contrast to
section 342, require application with the Board. See, e.g., 12 U.S.C. § 601 (national banks “may
file application with the Board . . . for permission to” engage in certain international banking
activities (emphasis added)).
                                                10
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action by a Federal banking agency on applications to the agency that are received by the

agency, unless the person submitting the application to a Federal banking agency waives this

requirement. 12 U.S.C. § 4801 states that “‘Federal banking agencies’ [has] the same meaning[]

as in section 1813 of this title,” and section 1813, in turn, does not refer to Reserve Banks,

stating instead that “‘Federal banking agency’ means the Comptroller of the Currency, the Board

of Governors of the Federal Reserve System, or the [FDIC].” 12 U.S.C. § 1813(z). There is no

provision for submitting master account requests to the Board, as the FRA places this within the

powers of Reserve Banks, and plaintiff in fact alleges that “Custodia submitted its application to

the Federal Reserve Bank responsible for its district, the Kansas City Fed.” Compl. ¶ 18.

       Submission to FRBKC of a request for a master account is not made “to the” Board.

“The Board and the Federal Reserve Banks are ‘two expressly independent statutory entities.’”

Costello v. Grundon, 651 F.3d 614, 632 (7th Cir. 2011) (citation omitted). Although the Board

may delegate certain of its own functions to Reserve Banks, 12 U.S.C. § 248(k), it has not done

so here. See Compl. ¶ 66 (“no such delegation exists”). Nor could it, as the power to open

master accounts is not a Board function; instead, it is provided for by 12 U.S.C. § 342, which

appears in subchapter IX of the FRA, 12 U.S.C. §§ 341-61, entitled “Powers of the Federal

Reserve Banks.” Cf. Fox News Network, LLC v. Bd. of Governors of the Fed. Reserve Sys., 601

F.3d 158, 161 (2d Cir. 2010) (“The power to make loans is explicitly granted by statute only to

the Federal Reserve Banks themselves. 12 U.S.C. § 347b(a). . . . [T]he Federal Reserve Banks

did not issue each loan on ‘behalf of the Board,’ or under the ‘delegated authority’ of the

Board.”). Because section 4807 only applies to applications to the Board, it is not implicated by

plaintiff’s master account request, which was not and could not have been made to the Board.

       B.      Plaintiff Fails to State a Claim for Unreasonable Delay

       Plaintiff’s claims for unreasonable delay under the Administrative Procedure Act, 5
                                                 11
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U.S.C. § 551 et seq. (“APA”), and Mandamus Act, 28 U.S.C. § 1361, must be dismissed for

failure to state a claim. See Compl. ¶¶ 61-81 (Count I); id. ¶¶ 82-91 (Count II).17 The APA

allows courts to “compel agency action unlawfully withheld or unreasonably delayed,” 5 U.S.C.

§ 706(1)), and the Mandamus Act permits courts to “compel . . . the United States or any agency

thereof to perform a duty owed to the plaintiff.” Plaintiff claims the Board has “unlawfully

withheld or unreasonably delayed” action on its master account request, id. ¶ 80 (quoting 5

U.S.C. § 706(1)), and that it is entitled to a writ of mandamus compelling such action, id. ¶ 91.

But it fails to meet threshold APA and mandamus standards and those claims must be dismissed.

          “[A] claim under § 706(1) can proceed only where a plaintiff asserts that an agency

failed to take a discrete action that it is required to take.” Kane Cnty. Utah v. Salazar, 562

F.3d 1077, 1086 (10th Cir. 2009) (quoting Norton v. S. Utah Wilderness Alliance, 542 U.S. 55,

64 (2004) (“SUWA”)). Likewise, a writ of mandamus is available “only where the duty to be

performed is ministerial and the obligation to act peremptory and clearly defined.” United

States ex. rel. McLennan v. Wilbur, 283 U.S. 414, 420 (1931); see also Rios v. Ziglar, 398 F.3d

1201, 1206 (10th Cir. 2005). As the Court held in SUWA, “the only agency action that can be

compelled . . . is action that is legally required [such as] the failure to promulgate a

[mandatory] rule or take some decision by a statutory deadline.” 542 U.S. at 63.

“[C]hallenges to discretionary matters cannot be compelled.” Audubon of Kansas, Inc. v. DOI,

568 F. Supp. 3d 1167, 1181 (D. Kan. 2021) (quoting SUWA, 542 U.S. at 64-65).

          As discussed elsewhere herein, see infra Part II, Congress did not task the Board with

final decisionmaking authority in this matter. As a result, the Board has no statutory duty to act

on plaintiff’s request to FRBKC for a master account, nor is there any obligation for the Board to



17
     There is no question that the Board, a federal agency, is generally subject to the APA.
                                                  12
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impose a specific timeline on Reserve Banks statutorily vested with responsibility for such

decisions. In the absence of any statute or regulation requiring discrete action by the Board by a

specified deadline in relation to plaintiff’s request for a master account, plaintiff cannot state a

claim for unreasonable delay under the APA or for mandamus. See SUWA, 542 U.S. at 63 n.1

(“Of course § 706(1) also authorizes courts to ‘compel agency action . . . unreasonably

delayed’—but a delay cannot be unreasonable with respect to action that is not required.”); In re

A Cmty. Voice, 878 F.3d 779, 784 (9th Cir. 2017) (“an agency cannot unreasonably delay that

which it is not required to do”); Hi-Tech Bed Sys. Corp. v. GSA, No. 11-cv-293, 2012 WL

12871622, at *7 (D. Wyo. Mar. 8, 2012) (“Having failed to cite a discrete, mandatory duty,

[plaintiff] has similarly failed to identify any agency action unlawfully withheld or unreasonably

delayed.” (quotation omitted)) (dismissing complaint for mandamus and APA relief).

       Although plaintiff contends that “it is incumbent upon the Board to exercise its

supervisory authority” over the Reserve Bank to ensure master account decisions are “fair and

timely,” Compl. ¶ 72, the Board has no mandatory duty to enforce a particular timeline against

Reserve Banks considering master account requests, and whether to enforce such requirements

against a supervised entity is a matter committed to agency discretion by law. See 5 U.S.C.

§ 701(a)(2); Heckler v. Chaney, 470 U.S. 821 (1985); Hi-Tech Bed Sys., 2012 WL 12871622, at

*5-7 (failure to identify “the violation of any mandatory duty” or “any statute, regulation, or

policy that requires” agency to enforce a particular standard fails to overcome the “presumption

of unreviewability” of such matters and the “Court lacks jurisdiction to hear [such] claims”).18



18
  As articulated in the Guidelines: “Reserve Banks face challenges in balancing the desire by
requestors for a specific timeline with Reserve Banks’ need to perform thorough reviews of
requestors with novel, complex, or high-risk business plans, along with requestors that are
subject to novel regulatory regimes. Setting a specific timeline could result in an increased


                                                  13
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       And, even if any requirement for the Board to facilitate master account decisionmaking

by Reserve Banks existed, the Board has done so by using notice and comment proceedings to

issue Guidelines related to account access, which plaintiff has supported in its submitted

comments.19 The Board published the original notice on May 11, 2021, and a supplemental

notice on March 8, 2022, 86 Fed. Reg. 25,865; 87 Fed. Reg. 12,957, on both occasions seeking

public comment.20 Given the complex issues presented by novel charters, the time taken to date

to address these issues is far from unreasonable. See 86 Fed. Reg. at 25,866-67 (explaining that

requests for master accounts from novel charter types occurred, until recently, on an exceptional


number of premature or unnecessary denials of access requests in cases where the specified
timeline does not allow the Reserve Banks sufficient time to understand the intricacies of the
requesting institutions’ risk profiles. Accordingly, the Board has not adopted a timeline
expectation . . . .” Guidelines at 15.
19
  See https://www.federalreserve.gov/SECRS/2021/July/20210721/OP-1747/OP-1747_071221
_138730_420086027347_1.pdf, at 1 n.1, 4 (plaintiff’s statement, submitted under its former
name Avanti, “support[ing] the principles of clarity and predictability” in the Board’s Proposed
Guidelines and “embrac[ing] the level of supervision and oversight the Federal Reserve should
choose to apply to state-chartered, non-FDIC insured” institutions like plaintiff).
20
   Any assertion by plaintiff that the Account Access Guidelines cannot apply to its request, see
Compl. ¶¶ 53, 79, is incorrect. “In the administrative context, a rule is retroactive if it takes
away or impairs vested rights acquired under existing law, or creates a new obligation, imposes a
new duty, or attaches a new disability in respect to transactions or considerations already past.”
Nat’l Mining Ass’n v. DOL, 292 F.3d 849, 859 (D.C. Cir. 2002) (quotations omitted). Because
the Guidelines clarify the factors that Reserve Banks should consider when evaluating requests
for account access—without compelling a particular outcome—the rule is not “impermissibly
retroactive.” See id. at 860; Guidelines at 31 (“decisions regarding individual access requests
remain at the discretion of the individual Reserve Banks”). Moreover, since retroactivity
concerns apply only to “completed” acts, Landgraf v. USI Film Products, 511 U.S. 244, 269-70
(1994), any such concern is misplaced here because plaintiff’s efforts to obtain account access
are not yet complete and the mere act of seeking account access does not create a vested right in
securing access. See Guidelines at 31 (“[I]t is important to make clear that legal eligibility does
not bestow a right to obtain an account and services.”); Labojewski v. Gonzales, 407 F.3d 814,
822 (7th Cir. 2005) (finding that filing a visa application, which was a prerequisite for applying
for adjustment of status, “is not the sort of ‘completed transaction’ that gives rise to vested rights
or settled expectations for purposes of the presumption against retroactivity”); CS-360, LLC v.
SBA, 20 F. Supp. 3d 104, 110-11 (D.D.C. 2013) (applying recently promulgated procedural rule
after holding that plaintiff’s application was “plainly not closed” because the agency could, inter
alia, engage in additional factfinding).
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basis, and determinations of such requests have “potential to set a precedent that could affect the

Federal Reserve’s ability to achieve its policy goals now or in the future”).

       Indeed, depending on the matter before an agency, courts “have noted that delays

between three to five years are often not unreasonable.” Dastagir v. Blinken, 557 F. Supp. 3d

160, 165 (D.D.C. 2021) (dismissing unreasonable delay claim related to the adjudication of a

visa application that had been filed five years prior and pending in administrative processing for

29 months at the time petitioner brought suit); see also In re A Cmty. Voice, 878 F.3d at 787

(distinguishing an unreasonable eight-year delay from Ninth Circuit precedents “where the delay

has been only months or a few years”). Particularly where the decision at issue involves

complex issues and policy questions—such as the important issues of risk to the U.S. financial

system, financial stability, and implementation of monetary policy at issue here—the law is clear

that agency deliberations that may reasonably span a period of years do not amount to

unreasonable delay. See, e.g., Martin v. O’Rourke, 891 F.3d 1338, 1345-46 (Fed. Cir. 2018)

(“[i]t is reasonable that more complex and substantive agency actions take longer”); Sierra Club

v. Thomas, 828 F.2d 783, 799 (D.C. Cir. 1987) (finding that the passage of almost three years,

with “little more than one year since the close of the public comment period,” could “hardly be

considered unreasonable” “[g]iven the complexity of the issues facing EPA and the highly

controversial nature of the proposal”), abrogated in part on other grounds by statute; cf. Qwest

Commc’ns Int’l, Inc. v. FCC, 398 F.3d 1222, 1238-39 (10th Cir. 2005) (rejecting petitioners’

request under 5 U.S.C. § 706(1) for agency implementation of a statutorily compliant pricing

scheme on any “arbitrary deadline” given FCC’s “complex” task).

       Additionally, where—as here—the interests involved are “purely economic in nature,

delay impacting these interests is . . . entitled to greater indulgence.” U.S. Women’s Chamber of



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Com. v. SBA, No. 1:04-cv-01889, 2005 WL 3244182, at *17 (D.D.C. Nov. 30, 2005); cf.

Telecommc’ns Rsch. & Action Ctr. v. FCC, 750 F.2d 70, 80 (D.C. Cir. 1984) (“delays that might

be reasonable in the sphere of economic regulation are less tolerable when human health and

welfare are at stake”).

       And, given the discretion in master account issuance discussed below, FRBKC is

similarly not bound by timing restrictions imposed by the APA or Mandamus Act even if it were

covered by the statutes (an issue the Court need not reach given that the passage of time on

plaintiff’s master account request does not violate their requirements). See Barrios Garcia v.

DHS, 25 F.4th 430, 450-51, 455 (6th Cir. 2022) (holding that “federal courts cannot invoke

5 U.S.C. § 706(1) to force USCIS to speed up an unduly delayed prewaitlist work-authorization

adjudication, which is a nonmandatory agency action under 8 U.S.C. § 1184(p)(6)” because the

statute’s “use of ‘may’ . . . render[ed] discretionary the decision to issue work authorizations”);

McLennan, 283 U.S. at 420 (for a writ of mandamus, “[t]he law must not only authorize the

demanded action, but require it; [and] the duty to act must be clear and undisputable”). Given

that plaintiff’s master account request remains under active consideration by FRBKC, the

Board’s issuance of guidance in this area has proceeded appropriately, and no mandatory

deadline applies, plaintiff cannot state a claim based on its disagreement over the passage of

time. As a result, mandamus—a “drastic remedy” that “is to be invoked only in extraordinary

circumstances,” In re Cooper Tire & Rubber Co., 568 F.3d 1180, 1186 (10th Cir. 2009)

(quotation omitted)—is not appropriate here. And because the relief plaintiff seeks in this action

is limited to remedying its allegations of undue delay, see Compl. at 42 (“Request for Relief”),

the Court need proceed no further to dispose of the action.




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II.    Account Decisions are Discretionary and Committed by Statute to Reserve Banks

       A.      Plaintiff Has No Statutory Entitlement to a Reserve Bank Account

       Contrary to plaintiff’s allegations, the FRA does not require that FRBKC grant its request

for a master account.21 A master account is a deposit account maintained at a Reserve Bank. As

such, master accounts are governed by FRA § 13, 12 U.S.C. § 342, which expressly gives

Reserve Banks discretion over whether to open such accounts. The relevant language of the

statute includes the permissive “may,” providing that “[a]ny Federal reserve bank may receive

[deposits] from any of its member banks, or other depository institutions . . . .” Id.

       Courts have long held that such language denotes a discretionary power. See, e.g.,

Farmers and Merchants Bank v. Fed. Reserve Bank of Richmond, 262 U.S. 649, 662 (1923)

(section 342’s provision that a Reserve Bank “may receive” deposits from a member bank of

checks for collection “imposes upon reserve banks [no] obligation to receive checks for

collection. The act merely confers authority to do so.”).22 Indeed, Congress’s use of the word

“may” in a statute is ordinarily construed as “permissive, rather than mandatory.” Big Sky

Network Canada, Ltd. v. Sichuan Provincial Gov’t, 533 F.3d 1183, 1186 (10th Cir. 2008); see

also Kingdomware Techs., Inc. v. United States, 579 U.S. 162, 172 (2016) (“The word ‘may,’


21
   As noted above, the Court need not reach the entitlement question because, even if there were
any general right to a master account—and there is not—there would be no such entitlement on
plaintiff’s demanded timeline. See TNB USA, Inc. v. Fed. Reserve Bank of N.Y., No. 1:18-cv-
7978, 2020 WL 1445806, at *8 (S.D.N.Y. Mar. 25, 2020) (“[Plaintiff] argues that it is entitled by
statute to a master account, but even assuming that is correct,” it has not identified “a right for
the [Reserve Bank] to provide that account within a certain time period. [Plaintiff] does not
object, after all, to the fact that there is an application process for the accounts, and implicit in
the acceptance of that process is the understanding that a decision will not be immediate.”).
22
  A different provision of the FRA, by contrast, requires Reserve Banks to accept deposits of
moneys from the general fund of the U.S. Treasury: such funds “may, upon the direction of the
Secretary of the Treasury, be deposited in Federal reserve banks, which banks, when required by
the Secretary of the Treasury, shall act as fiscal agents of the United States . . . .” 12 U.S.C.
§ 391 (emphases added).
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when used in a statute, usually implies some degree of discretion.” (quotation omitted)). Here,

the use of “may” in section 342 makes clear Congress’s intent that Reserve Banks have authority

to accept deposits or open deposit accounts but are not required to do so.

       Consistent with this understanding, the Board and Reserve Banks have long viewed such

deposit-taking authority as discretionary. OC-1, which sets the terms and conditions applicable

to master accounts, expressly provides that “[e]ach Master Account Agreement” executed by a

financial institution “is subject to approval by the Financial Institution’s Administrative Reserve

Bank,” OC-1 at ¶ 2.6, and that “[a] Reserve Bank may terminate a Master Account Agreement

. . . or any Other Account Agreement at any time.” Id. at ¶ 2.10.23 Indeed, OC-1 ¶ 2.11 refers to

the first paragraph of FRA § 13, 12 U.S.C. § 342, underscoring the longstanding interpretation of

section 342 as governing account relationships such as creation of a master account.

       This reading is consistent with judicial interpretations of section 342. Addressing section

342 shortly after passage of the FRA in 1913, the Supreme Court in Farmers and Merchants

rejected an argument similar to plaintiff’s that “the Federal Reserve Bank of Richmond is

obliged to receive for collection any check upon any North Carolina state bank.” 262 U.S. at

662. Interpreting section 342’s language that, “solely for the purposes of collection,” a Reserve

Bank “may receive from any nonmember bank . . . deposits of checks . . . payable upon

presentation,” the Court held that “neither § 13, nor any other provision of the Federal Reserve

Act, imposes upon reserve banks any obligation to receive checks for collection.” Id. The Court

noted that Congress had from time to time enlarged the “the class of cases” to which the Reserve

Banks’ authority under section 342 applied, id., “[b]ut in each amendment, as in § 13, the words




23
  https://www.frbservices.org/binaries/content/assets/crsocms/resources/rules-regulations/
081621-operating-circular-1.pdf.
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used were ‘may receive’—words of authorization merely.” Id. (quoting FRA).

       The Court further observed that the FRA “appears to have been drawn with great care.

Throughout the act the distinction is clearly made between what the Board and the Reserve

Banks ‘shall’ do and what they ‘may’ do.” Id. at 663 (quoting FRA). The Court listed some

twenty-one provisions of the original FRA where both “may” and “shall” were used, and another

seven where only “shall” was used, to illustrate the precision Congress took in distinguishing

actions the Board and Reserve Banks were allowed to take from those they were required to take.

Id. at 663 n.6; see also Billings Utility Co. v. Advisory Comm. Bd. of Governors, 135 F.2d 108,

111 (8th Cir. 1943) (listing provisions of the FRA in which Congress distinguished what a

Reserve Bank “may” do from what it “must” do, and holding that the “may” provisions “seem so

clearly to be permissive as to make any other construction of them by interpretation or

construction judicial legislation”); Raichle v. Fed. Reserve Bank of N.Y., 34 F.2d 910, 914 (2d

Cir. 1929) (interpreting the phrase “any Federal Reserve Bank may . . . discount notes, drafts,

and bills of exchange,” in FRA § 13A, 12 U.S.C. § 348 (emphasis added), and holding that “it is

important to note that [the Federal Reserve Bank] is not under any compulsion to rediscount

eligible paper, for the words of the act in respect to rediscounting are wholly permissive”).

       The unambiguous text of Section 13, as interpreted by the Supreme Court and courts of

appeals shortly after passage of the FRA, thus makes clear that Reserve Banks are authorized to

accept deposits—and therefore open deposit accounts—but are not required to do so. Because

opening a master account is intrinsically a deposit-taking activity, plaintiff’s claims that FRBKC

is required to open a master account for it must be rejected based on the statute’s language.

        While the text of the FRA alone should end any inquiry into whether the FRA gives the

FRBKC discretion to deny master account requests, legislative history lends additional support



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to the conclusion that it does. The House Report on the FRA made clear that the permissive

“may receive” language in Section 13 “authorized” Federal Reserve Banks “to receive current

deposits from their [member banks].” 1913 House Report at 48 (1913). The legislative history

nowhere suggests the receipt of deposits is in any way mandatory. Notably, when Congress later

amended Section 13 as part of the Monetary Control Act of 1980 (“MCA”), Pub. L. No. 96-221,

94 Stat. 132, 139, to permit Reserve Banks to receive deposits from “other depository

institutions,” in addition to member banks, it did not alter the permissive “may receive”

language. Congress can therefore be presumed to have “accepted and ratified” the Supreme

Court’s reading of “may receive” in Section 13 as discretionary. Texas Dep’t of Housing and

Cmty. Affairs v. Inclusive Cmtys. Project, 576 U.S. 519, 536 (2015); see also Forest Grove

School Dist. v. T.A., 557 U.S. 230, 243 n.11 (2009) (“When Congress amended [the Act] without

altering the text [at issue], it implicitly adopted [the Court’s] construction of the statute.”).

        Plaintiff’s contrary claim that it has an unambiguous right to open a master account at

FRBKC under the provisions of FRA § 11A, 12 U.S.C. § 248a(c), lacks merit. See Compl.

¶¶ 27, 57. Section 11A is directed at the Board, not the Reserve Banks, and merely requires the

Board to adopt “pricing principles” for certain services offered by Reserve Banks to depository

institutions and publish a schedule of fees for priced services. See 12 U.S.C. § 248a (“the Board

shall publish for public comment a set of pricing principles . . . and a . . . schedule of fees . . . for

Federal Reserve Bank services”). The language plaintiff relies on in section 248a(c) is merely

described as a principle on which “[t]he schedule of fees prescribed pursuant to this section shall

be based.” It contains no command to open a master account and, indeed, makes no reference to

master accounts, which are deposit accounts subject to section 342 and not “services” covered by

section 248a. See 12 U.S.C. § 248a(b) (listing services to be covered by fee schedule). Nothing



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in that section requires that any particular institution receive a master account, or that each and

every institution is entitled to access Reserve Bank services. Rather, it requires only that

nonmember institutions that do obtain Reserve Bank services pay the same amount for those

services as member banks. See 12 U.S.C. § 248a(c)(2) (“The schedule of fees . . . shall be based

on the following principles: . . . All Federal Reserve bank services covered by the fee schedule

shall be available to nonmember depository institutions and such services shall be priced at the

same fee schedule applicable to member banks.”); Jet Courier Servs., Inc. v. Fed. Reserve Bank

of Atlanta, 713 F.2d 1221, 1227 (6th Cir. 1983) (holding that the MCA provided that nonmember

banks could receive Reserve Bank services “at the same fees charged member banks”). Its title,

“Pricing of Services,” further indicates that it concerns principles for setting prices rather than

availability of services. See Merit Mgmt. Grp., LP v. FTI Consulting, Inc., 138 S. Ct. 883, 893

(2018) (section headings “supply cues as to what Congress intended” (quotation omitted)).

       Indeed, section 248a(c)(2) expressly provides that “nonmembers shall be subject to any

other terms, including a requirement of balances sufficient for clearing purposes, that the Board

may determine are applicable to member banks,” 12 U.S.C. § 248a(c)(2), again making clear that

section 248a(c) is directed at the Board, not Reserve Banks. And by empowering the Board to

impose other conditions on access to Reserve Bank services, provided that the same terms are

applicable to member and nonmember banks alike, this language necessarily means that there is

no absolute right to obtain master accounts or access services, as plaintiff incorrectly claims.

       Moreover, section 248a(c) appears in subchapter II of the FRA, 12 U.S.C. §§ 241-52,

titled “Board of Governors of the Federal Reserve System,” which generally sets out powers and

duties of the Board, and requires the Board, not Reserve Banks, to publish a fee schedule. By

contrast, FRA § 13, 12 U.S.C. § 342, appears in subchapter IX, 12 U.S.C. §§ 341-61, titled



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“Powers and Duties of Federal Reserve Banks.” Cf., e.g., Henderson v. Shinseki, 562 U.S. 428,

439 (2011) (placement of time limit in subchapter titled “Procedure” and not subchapter titled

“Organization and Jurisdiction,” indicates that Congress regarded it as nonjurisdictional). It

makes no sense—as plaintiff alleges—that Congress meant section 248a(c), enacted in 1980 as

part of a section titled “Pricing of Services,” which sets out a “pricing principle[]” used to

establish a “Schedule of fees,” 12 U.S.C. § 248a(a), (c), to overturn the discretion permitted the

Reserve Banks since 1913 to accept deposits by requiring them to open master accounts for all

comers regardless of risk or other considerations. “Congress . . . does not alter the fundamental

details of a regulatory scheme in vague terms or ancillary provisions—it does not, one might say,

hide elephants in mouseholes.” Whitman v. Am. Trucking Ass’n, 531 U.S. 457, 468 (2001).

       B.      Plaintiff’s Reliance on Contrary Dicta is Misplaced and Any Statutory
               Ambiguity Should Be Resolved in Favor of the Board’s Reasonable
               Interpretation

       The split decision in Fourth Corner Credit Union v. Federal Reserve Bank of Kansas

City, 861 F.3d 1052 (10th Cir. 2017), does not compel a different result, as plaintiff suggests.

Compl. ¶¶ 133, 142. In that case, the Tenth Circuit vacated a district court order dismissing with

prejudice a Colorado-chartered credit union’s complaint seeking a master account, and remanded

with instructions to dismiss without prejudice. 861 F.3d at 1053. Writing for himself, one panel

member argued that section 342 “does not affect [a depository’s institution’s] entitlement to a

master account” because it “does not address which institutions can access Federal Reserve

services; that subject is governed instead by § 248a(c)(2).” Fourth Corner, 861 F.3d at 1074

(opinion of Judge Bacharach). Notably, however, this conclusion was reached in an entirely

different context—one that did not implicate the complex issues presented by the novel charter

and business model at issue here—and its statutory construction cannot withstand scrutiny. It is

also contrary to the Board’s published interpretation of the relevant FRA provisions in the
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subsequent Account Access Guidelines, and should not be adopted by the Court as a result.

       As an initial matter, as discussed above, the pricing principle on which the opinion relies

provides that Reserve Bank services “shall be available to nonmember depository institutions”

and “shall be priced at the same fee schedule applicable to member banks,” but does not provide

that all services necessarily must be available to all nonmember banks. 12 U.S.C. § 248a(c)(2).

Congress’s exclusion of the second “all” is significant, as it signals Congress’s intent that

services covered by the fee schedule be available to member and nonmember banks alike—as

they generally are—but not that each and every nonmember bank, even those that may present a

variety of unmitigated risks, are entitled to all services. While Judge Bacharach’s opinion noted

that the use of “all” before the “nonmember depository institutions” was not grammatically

necessary to indicate that all such banks were intended to receive access to the services on the

schedule, 861 F.3d at 1070, it overlooked the fact that Congress chose to use “all” elsewhere in

the same sentence to express universal applicability but omitted it in this context. But “when

‘Congress includes particular language in one section of a statute but omits it in another’—let

alone in the very next provision—this Court ‘presume[s]’ that Congress intended a difference in

meaning.” Loughrin v. United States, 573 U.S. 351, 358 (2014) (citation omitted).

       Moreover, the opinion incorrectly concluded that section 248a(c)(2)’s legislative history

indicates that “Congress hoped to . . . establish open access to Federal Reserve services.” 861

F.3d at 1072. In support, it cites a single sentence from a conference report stating that a House

amendment includes a provision to “open access to [Federal Reserve] services to all depository

institutions on the same terms and conditions as member banks.” Id. at 1072-73 (citing 126

Cong. Rec. 6250 (1980)). The full excerpt of the report, however, like the statute, states:

       Pricing of Federal Reserve Services. The House amendment includes a provision
       for the Federal Reserve to price services provided by the Federal Reserve Banks

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        and open access to these services to all depository institutions on the same terms
        and conditions as member banks.

126 Cong. Rec. 6250 (1980). This history provides no more support for plaintiff’s

position than the statute; it again labels section 248a as being about “pricing” rather than

access to a deposit account, and while it mentions “open[ing] access to all depository

institutions,” it does so in the same breath with “on the same terms and conditions” as

member banks, rather than including a standalone reference to a mandatory grant of

access. And it expresses no intent to overrule the prior statutory authority giving Reserve

Banks discretion in the matter. “The proper function of legislative history is to solve, and

not create, ambiguity,” Edwards v. Valdez, 789 F.2d 1477, 1482 n.6 (10th Cir. 1986), and

the cited history does not aid plaintiff here.

        Indeed, contrary to Judge Bacharach’s conclusion, the legislative history shows that

Congress enacted the MCA, including section 248a(c)(2), out of concern over the Federal

Reserve’s growing lack of control over the money supply, and its ramifications for the national

economy, not in order to “entitle[] every nonmember depository institution to Federal Reserve

services.” 861 F.3d at 1073. Prior to enactment of the MCA, Reserve Banks provided services,

such as check collection and wire transfers, free of charge to member banks in order to

compensate them “for the costs associated with having to maintain non-interest bearing reserves

with the Federal Reserve,” which nonmember banks were not required to do. See Greater

Buffalo Press, Inc. v. Fed. Reserve Bank of N.Y., 866 F.2d 38, 40 (2d Cir. 1989). During the

1970s, the Federal Reserve experienced a decline in membership due to “the growing loss of

profits occasioned by [the] Federal Reserve’s relatively high percentage of required reserves.”

First Bank & Trust Co. v. Bd. of Governors of the Fed. Reserve Sys., 605 F. Supp. 555, 558 (E.D.

Ky. 1984). This decline in membership “did not escape Congress’ attention . . . [which] in 1979,

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[introduced] at least five bills . . . aimed at correcting the Federal Reserve’s growing lack of

control over the money supply.” Id. Congress’s efforts “to curb the rising tide of bank flight

from the [Federal] Reserve System” resulted in enactment of the MCA in 1980. Id. at 565.

       The MCA was enacted largely to restore Federal Reserve control over the money supply

and monetary policy—of which master account discretion plays an important role—by requiring

nonmember as well as member banks to maintain reserves (balances) at Federal Reserve Banks

(i.e., on the Federal Reserve balance sheet). In exchange, the MCA provided that nonmember

banks would be able to receive Federal Reserve Bank services “at the same fees charged member

banks.” Jet Courier Servs., 713 F.2d at 1227. While Judge Bacharach cited portions of the

legislative history indicating that Congress supported “wide access to Federal Reserve services

for nonmember banks,” 861 F.3d at 1072 (quoting House report), there is no indication that

Congress intended the MCA as a mandatory right of access to Reserve Bank services to all

nonmember banks regardless of circumstances or risks to the central bank or financial system

that access to the Federal Reserve balance sheet and payment systems may present.

       Finally, the Board’s interpretation of the statute is no mere “litigating position,” 861 F.3d

at 1071, but a view it has long taken, culminating in the issuance of the Guidelines. To the

extent section 248a(c)(2) is ambiguous, the Board’s interpretation as the agency primarily

responsible for implementing the FRA is entitled to deference so long as it is reasonable. See

Bd. of Gov. of the Fed. Reserve Sys. v. First Lincolnwood, 439 U.S. 234, 251 (1978) (“courts

should defer to an agency’s construction of its own statutory mandate, particularly when that

construction accords with well-established congressional goals”) (citations omitted)). Thus, the

clear position articulated in the Board’s Guidelines—issued after notice and comment—that

decisions to grant a master account or make services available to any particular depository



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institution are within the discretion of Reserve Banks,24 is entitled to deference. See, e.g.,

Fraternal Ord. of Police v. Bd. of Governors of Fed. Reserve Sys., 391 F. Supp. 2d 1, 5-6

(D.D.C. 2005) (granting deference to Board’s construction of FRA provisions relating to Reserve

Banks).

III.    Plaintiff’s Allegations Fail to Establish Justiciability

        Plaintiff bears the burden of establishing this Court’s jurisdiction, but its complaint fails

to sufficiently allege a present injury, thus depriving this Court of jurisdiction on both standing

and ripeness grounds.25 Claims V through VIII, which relate to the final decision that will be

made on plaintiff’s request, are not justiciable given that a final decision may be favorable to

plaintiff. And plaintiff’s failure to allege legal authorization to do business, see Part III.C., infra,


24
   See, e.g., Guidelines at 2 (Guidelines are “to be used by Reserve Banks in evaluating requests
for accounts and services” (emphasis added)); id. at 31 (“decisions regarding individual access
requests remain at the discretion of the individual Reserve Banks”); id. at 46 (“a Reserve Bank
has the authority to grant or deny an access request by an institution in any of the three proposed
tiers”). Consistent with this reading, the guidance issued through Operating Circulars has long
made clear that Reserve Banks may deny or terminate services for a variety of reasons. For
example, Reserve Banks “immediately may terminate” a depository institution’s electronic
connection “if the Reserve Bank, in its sole discretion, determines that continued use of the
Electronic Connection poses a risk to the Reserve Bank or others.” Operating Circular 5,
Electronic Access ¶ 7.1 (June 30, 2021), https://www.frbservices.org/binaries/content/assets/
crsocms/resources/rules-regulations/063021-operating-circular-5.pdf. Similarly, a “Reserve
Bank may terminate or restrict Fedwire Funds Service access . . . at any time without notice if
the Reserve Bank has reason to believe that” use “does not comply with any Reserve Bank
agreement . . . [or] otherwise poses a risk to a Reserve Bank.” Operating Circular 6, Funds
Transfers Through the Fedwire Funds Service, ¶ 9.1, https://www.frbservices.org/binaries/
content/assets/crsocms/resources/rules-regulations/030821-operating-circular-6.pdf.
25
   The Board is making only a facial attack on justiciability in this motion, pointing out that the
allegations in plaintiff’s complaint are insufficient to establish justiciability (rather than
contesting the facts alleged by plaintiff in support of jurisdiction). See Laufer v. Looper, 22
F.4th 871, 875 (10th Cir. 2022) (“A facial attack assumes the allegations in the complaint are
true and argues they fail to establish jurisdiction. A factual attack goes beyond the allegations in
the complaint and adduces evidence to contest jurisdiction.”). “A facial attack on the
complaint’s allegations regarding subject matter jurisdiction questions the complaint’s
sufficiency [which] is a question of law.” Smith v. United States, 561 F.3d 1090, 1097-98 (10th
Cir. 2009) (citations omitted).

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renders even its claims purporting to seek redress for alleged delay (Claims I-IV) premature.26

       A.      Plaintiff’s Constitutional Claims Are Non-Justiciable

       Plaintiff’s constitutional attacks on purported flaws in the manner that a final decision

might be made on its request, which focus on claims of potential participation by allegedly

biased officials whom plaintiff contends were not properly appointed (see Claims V-VI), are

untethered to present injury and should be dismissed on standing and ripeness grounds.

       This Court is constitutionally limited to resolving “Cases” or “Controversies,” U.S.

Const. art. III § 2 cl. 1, and both standing and ripeness implicate this requirement. Allen v.

Wright, 468 U.S. 737, 750 (1984). Because plaintiff challenges alleged acts or omissions of the

Board, an Executive Branch agency, as well as the constitutionality of an Act of Congress, “the

necessity of a case or controversy is of particular import” to protect “against unrestrained

exercise of the power of judicial review over the conduct of the executive or congressional

branches . . . .” Utah v. Babbitt, 137 F.3d 1193, 1202 (10th Cir. 1998). Plaintiff bears the

burden of establishing standing and ripeness, id.; Coal. for Sustainable Res. v. U.S. Forest Serv.,

259 F.3d 1244, 1249 (10th Cir. 2001); Fed. R. Civ. P. 8(a)(1), but fails to do so.

       To establish standing, a plaintiff must demonstrate “personal injury fairly traceable to the

defendant’s allegedly unlawful conduct and likely to be redressed by the requested relief.” Allen,

468 U.S. at 751. “[A]n asserted right to have the Government act in accordance with law is not

sufficient, standing alone.” Id. at 754 (1984). Injury is assessed as of the time suit is brought,

Utah Ass’n of Cntys. v. Bush, 455 F.3d 1094, 1099, 1101 (10th Cir. 2006), and “threatened injury

must be certainly impending”—“allegations of possible future injury are not sufficient.”


26
  To the extent Claim III includes a claim for delay, see Compl. ¶¶ 98-99, it is not justiciable for
the same reason as the statutory timeliness claims. And to the extent it concerns the standards
under which a final decision will be made, it is not justiciable for the same reason as plaintiff’s
other constitutional claims.
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Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013) (quotation omitted). Causation requires

injury to be “fairly traceable” to the challenged conduct without resort to speculation. Id. at 411.

        But plaintiff makes no allegations showing how matters such as the particular official(s)

it contends will make a future final decision on its request cause it present injury.27 Assuming

for the sake of argument that plaintiff‘s account request could be decided by allegedly biased

officials who were not properly appointed, id. ¶¶ 14, 123, it has not alleged any facts indicating

how a final decision to be made in the future has caused present injury. It thus fails to make the

critical showing of standing at the time it filed suit, and if it ultimately receives a favorable

decision from FRBKC, these purported infirmities will have caused it no injury. See Kane Cnty.

Utah, 562 F.3d at 1090 (no standing where “the District’s Application remains pending before

the BLM. . . . In other words, it is entirely possible that the BLM will grant the District’s

Application, in which event the District will have suffered no injury.”); see also Robertson v.

Colvin, 564 F. App’x 931, 934 (10th Cir. 2014) (no standing to seek judicial review of favorable

agency decision); Utah Ass’n of Cntys., 455 F.3d at 1100-01 (no standing at time of filing where

statute and proclamation challenged on constitutional grounds did not cause immediate injury).28


27
   Nor does plaintiff demonstrate at more than a speculative level that these purported defects
relating to the manner in which a final decision might be reached would cause it imminent harm
in the form of a “certainly impending” adverse decision. For example, plaintiff complains about
the purported lack of “discernable standards” and “intelligible principles” for review of its
request, Compl. ¶ 95, but since clearer standards and principles would not necessarily be
favorable to plaintiff, it is unclear how a lack of such criteria hurts its chances of ultimately
securing an account. And plaintiff’s entire bias claim rests on speculative assertions about who
might (or might not) participate, e.g., Compl. ¶ 115 (contending that plaintiff’s due process rights
would be violated “[t]o the extent that the Kansas City Fed’s Board of Directors finally
adjudicates” its request (emphasis added)), as does its Appointments Clause claim.
28
   Plaintiff also fails to demonstrate redressability, which requires showing that “it must be
likely, not merely speculative, that a favorable judgment will redress the plaintiff’s injury.” Utah
Ass’n of Cntys., 455 F.3d at 1099-100. It would be beyond speculative to assume that a grant of
relief in this case, i.e., an order that a decision be made within 30 days, see Compl. at 42, would
redress any injury arising from the alleged constitutional violations.
                                                  28
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        For similar reasons, plaintiff fails to establish the ripeness of its constitutional claims. Cf.

S. Utah Wilderness All. v. Palma, 707 F.3d 1143, 1157 (10th Cir. 2013) (“The doctrines of

standing and ripeness substantially overlap in many cases.” (citation omitted)). Ripeness

doctrine “prevents courts ‘from entangling themselves in abstract disagreements over

administrative policies,’ while also ‘protect[ing] the agencies from judicial interference until an

administrative decision has been formalized and its effects felt in a concrete way by the

challenging parties.’” Id. at 1158 (citations omitted). Ripeness depends on “the ‘fitness of the

issues for judicial decision’ and the ‘hardship to the parties of withholding court consideration.’”

Id. (citation omitted). Plaintiff cannot carry its burden as to either factor.

        First, plaintiff’s allegations fail to demonstrate fitness, which depends on such factors as

“whether the issue is a purely legal one, whether the agency decision in dispute was final, . . .

whether further factual development would significantly advance [the court’s] ability to deal

with the legal issues presented,” and whether adjudication would be a “wasteful use of limited

judicial resources.” Wyoming v. Zinke, 871 F.3d 1133, 1141-42 (10th Cir. 2017) (cleaned up).

Here, there is no final decision; adjudicating the propriety of how such a decision might be made

is thus a “wasteful use of limited judicial resources,” id., because the very process plaintiff

attacks may lead to a favorable decision, leaving it uninjured. Cf. Kane Cnty, 562 F.3d at 1090

(“[I]t is entirely possible that the BLM will grant the District’s Application, in which event the

District will have suffered no injury.”); see also Farrell-Cooper Mining Co. v. DOI, 728 F.3d

1229, 1238 (10th Cir. 2013) (“Farrell–Cooper is currently seeking review of the disputed

OSMRE actions before the Department of the Interior. If that review vacates the contested

OSMRE actions, Farrell–Cooper would receive the relief it seeks.”). And given that some of

plaintiff’s claims rest on factual speculation about who will make a final decision, the complaint



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is not “purely legal” for ripeness purposes because “not all the issues are purely legal.” Coal. for

Sustainable Res., 259 F.3d at 1250 (emphasis added) (issue not fit for review although a ruling

for one side would be dispositive since a contrary ruling would not dispose of related issues

dependent on subsequent events). Plaintiff thus fails to meet the fitness test.

       Nor can plaintiff demonstrate relevant hardship from withholding judicial review of its

claims about the way in which a final decision will be made. First, plaintiff has not shown that

purported constitutional infirmities in how a final decision may be made presently impact it.

Second, relevant hardships for ripeness purposes must be “direct and immediate,” Zinke, 871

F.3d at 1143. Thus, when the consequences of withholding immediate review are attenuated,

courts have found claims unripe. E.g., Palma, 707 F.3d at 1160 (no hardship where intervening

events must occur before a challenged action directly impacts the plaintiff). Here, the claims

concerning the way in which a final decision might be made seek relief relating to how that

decision will be made, rather than its outcome. Even favorable relief would not guarantee the

grant of an account to plaintiff, and thus withholding such relief does not directly impact

plaintiff. Accordingly, its constitutional claims relating to a final decision are not ripe.

       B.      Plaintiff’s Contingent Claims Are Non-Justiciable

       Claims VII and VIII all but concede non-justiciability, as they acknowledge that they are

implicated “only in the event that Defendants deny Custodia’s application for a master account.”

Compl. ¶¶ 130, 139. For the reasons discussed above, particularly the fact that no adverse

decision has been made and that a final decision could be favorable to plaintiff, these Claims

must be dismissed for lack of standing and ripeness. These claims would in any event fail on the

merits. Claim VII, which seeks mandamus to compel the grant of an account, fails because the

decision to grant an account is discretionary. See Part II.B., supra. Since plaintiff has no right to

an account, Claim VIII, which seeks relief under the Declaratory Judgment Act, also fails, as the
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Act provides no additional grounds for relief. See n.15, supra.

       C.      Plaintiff’s Timeliness Claims Are Non-Justiciable

       Plaintiff’s remaining claims are also non-justiciable because its conclusory allegations do

not establish that it has suffered an injury from any purported delay that immediate action by

defendants would redress. They are thus insufficient to establish its standing to seek prospective

relief for alleged delay and the ripeness of its claims for adjudication.

       Importantly, plaintiff does not allege that it has commenced business, or even that it

legally can commence business as a depository institution, such that it suffers any injury from a

present lack of a master account. It alleges that “[i]t was granted a Special Purpose Depository

Institution bank charter by the Wyoming State Banking Board in October of 2020.” Id. ¶ 8. It

further alleges that it must launch its business by partnering with a bank that has a master

account, which it contends is a “costlier” and less desirable alternative. Compl. ¶ 8. But plaintiff

has failed to allege that it is legally authorized to commence business.

       The SPDI statute under which plaintiff alleges it was chartered states that the charter

granted by the State Banking Board is, on its own, insufficient to allow an SPDI to commence

business. Rather, “[i]f an application is approved and a charter granted by the board under W.S.

13-12-115, the special purpose depository institution shall not commence business before

receiving a certificate of authority to operate from the commissioner.” Wyo. Stat. § 13-12-116.

Plaintiff has not alleged that it has received or will receive such a certificate from the

Commissioner despite conceding that no master account is required. Compl. ¶ 8.

       Without such allegations, plaintiff has not carried its burden of establishing standing or

ripeness over its claims related to delay. Cf. Lujan v. Defs. of Wildlife, 504 U.S. 555, 564 (1992)

(“‘some day’ intentions—without any description of concrete plans, or indeed even any

specification of when the some day will be” do not establish justiciability); Schutz v. Thorne, 415
                                                  31
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F.3d 1128, 1133 (10th Cir. 2005) (“Whether a plaintiff has standing to sue turns on the precise

allegations of the parties seeking relief.” (cleaned up)). Courts have routinely dismissed claims

on standing or ripeness grounds where the effects of a defendant’s actions would only be felt

once a necessary license or permit were issued, or other action taken by a different governmental

entity. Thus, in Schutz, a plaintiff’s assertions that he had applied for a hunting license—but not

“that he actually drew” a license—were insufficient to give him standing to challenge a

requirement that he retain a guide when hunting. 415 F.3d at 1135; id. n.2. Similarly, a

challenge to the Department of Interior’s approval of a lease to a firm intending to store nuclear

waste was deemed unripe because the firm still needed to obtain a license from the Nuclear

Regulatory Commission. Utah v. DOI, 210 F.3d 1193, 1197-98 (10th Cir. 2000). Given

plaintiff’s failure to allege that it had been granted an operating certificate at the time it sued,

plaintiff has failed to establish the justiciability of its timeliness claims.

IV.     Plaintiff Fails to Allege Any Constitutional Violation

        Even assuming arguendo that plaintiff’s constitutional claims were justiciable, they fail

on the merits. The due process claims fail because plaintiff lacks a property interest that

implicates due process, and because its allegations fail to demonstrate that it has been deprived

of due process due to claimed vagueness, delay, or bias. Its legislative delegation claim fails

because Congress has provided intelligible principles for defendants to follow in this matter.

And its Appointments Clause claim fails because opening a bank account is not a matter that

implicates the Clause and, even if it did, the decision can be and is made by FRBKC’s president,

whose appointment conforms with the Clause.29



29
  Because “a statute is to be construed where fairly possible so as to avoid substantial
constitutional questions,” United States v. X-Citement Video, Inc., 513 U.S. 64, 69 (1994), the
Court should construe the FRA in a manner that eliminates such constitutional questions.
                                                   32
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       A.      Plaintiff Fails to State a Claim for Violation of Due Process

               1.      Plaintiff fails to state a due process claim because it lacks a protected
                       property interest

       Plaintiff’s various due process claims (Count III and (alternative) Count V) fail because it

lacks a property interest in a master account, which is a prerequisite to the attachment of due

process rights. Martin Marietta Materials, Inc. v. Kansas DOT, 810 F.3d 1161, 1171 (10th Cir.

2016). Plaintiff contends that it has a property interest in an account by virtue of 12 U.S.C.

§ 248a. See Compl. ¶ 94. But as explained in Part II, supra, section 248a does not mandate the

grant of a master account, which 12 U.S.C. § 342 places at a Reserve Bank’s discretion, and

plaintiff therefore lacks an interest subject to due process protections. For due process purposes,

“a benefit is not a protected entitlement if government officials may grant or deny it in their

discretion.” Town of Castle Rock, Colo. v. Gonzales, 545 U.S. 748, 756 (2005). Absent legal

provisions mandating “‘a particular outcome’ . . . no property interest exists” that implicates due

process protections. Martin Marietta, 810 F.3d at 1178 (citations omitted). Thus, plaintiff’s lack

of entitlement to a master account precludes it from asserting any due process claim.

               2.      Plaintiff fails to state a due process claim based on vagueness

       Plaintiff contends that its due process rights have been violated by an allegedly

standardless process, e.g., Compl. ¶ 97, and asks the Court to require defendants to review its

request for an account in accordance with “discernable standards.” Id. ¶ 101. Plaintiff’s

assertions in this regard prove too much and are insufficient to state a claim.

       As explained above, to show it has a property interest implicating due process, plaintiff

must demonstrate a lack of discretion to deny it an account. But the purported lack of standards

claimed by plaintiff, if true, results in unconstrained discretion and thus underscores the lack of

an interest to which due process rights attach, barring plaintiff’s claim. See, e.g., Hyde Park Co.


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v. Santa Fe City Council, 226 F.3d 1207, 1212-13 (10th Cir. 2000) (“Because the ordinances as

written contain no standards governing the City Council’s . . . exercise of discretion, [appellant]

has no protectible property interest on which to base its due process claims.” (emphasis added)).

       Plaintiff also fails to state a claim in this regard because it does not allege that any statute

or regulation is compelling or prohibiting its conduct. Due process limits on vagueness serve to

prevent rules that “regulate persons or entities” from being so vague as to allow “arbitrary

enforcement.” Beckles v. United States, 137 S. Ct. 886, 892, 894 (2017) (citation omitted). 30 A

purported lack of standards for Reserve Bank action therefore does not implicate plaintiff’s due

process rights. See id. at 895 (rejecting criminal defendant’s challenge to advisory guidelines

meant to guide courts in exercising sentencing discretion because the guidelines did not “regulate

the public” and thus did not implicate due process vagueness concerns).

               3.      Plaintiff fails to state a due process claim based on delay

       Plaintiff, citing Smith v. Illinois Bell Telephone Co., 270 U.S. 587 (1926), claims that the

timeframe for processing its request violates its due process rights. Compl. ¶ 100. In Smith, the

Court found that a public body reviewing an application “for a period of two years remained

practically dormant, and nothing in the circumstances suggests that it had any intention of going

further with the matter.” 270 U.S. at 591. In contrast, the System has most certainly indicated

an “intention of going further with the matter,” as shown by the process leading to issuance of

the Guidelines and ongoing engagement with plaintiff. Smith is thus readily distinguishable.

Moreover, action that does not constitute an unreasonable delay under the APA does not violate

due process. O’Rourke, 891 F.3d at 1349; Vietnam Veterans of Am. v. Shinseki, 599 F.3d 654,



30
  Moreover, far less clarity is required outside the criminal or First Amendment context, In re
Stewart, 175 F.3d 796, 811 (10th Cir. 1999) (citation omitted), and in the area of “economic
regulation.” Vill. of Hoffman Ests. v. Flipside, Hoffman Ests., Inc., 455 U.S. 489, 498 (1982).
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660 (D.C. Cir. 2010). For the same reasons that plaintiff fails to state an APA claim for delay,

supra at Part I.B., it has not suffered a delay that violates due process.

               4.      Plaintiff fails to state a due process claim based on bias

       Plaintiff wrongly implies that the FRA improperly gives FRBKC “Class A” directors

“who shall be chosen and representative of [member] banks” (with which it claims to compete)

decisionmaking power over master accounts. Compl. ¶ 114 (quoting 12 U.S.C. § 302).

       As a preliminary matter, plaintiff has not identified any FRBKC member bank that

directly competes in the cryptocurrency services market plaintiff hopes to enter, despite the

Rules’ requirement that a plaintiff provide sufficient “factual matter,” and not merely recite

“labels and conclusions,” in order to survive a motion to dismiss. Bell Atl. Corp. v. Twombly,

550 U.S. 544, 555-56 (2007). Plaintiff also carefully avoids alleging that FRBKC directors will

actually be the decisionmakers on its request, e.g., Compl. ¶ 115 (“To the extent that the Kansas

City Fed’s Board of Directors finally adjudicates the rights of would-be competitors like

Custodia” (emphasis added)), and its allegations recognize that the official exercising

decisionmaking power in this matter is in fact FRBKC’s president. See Compl. ¶¶ 41-42.31 The

FRA provides that Reserve Bank powers can be exercised by the “board of directors, or duly

authorized officers or agents.” 12 U.S.C. § 341(seventh) (emphasis added). The president,

whom plaintiff does not allege is biased,32 is certainly a duly authorized “officer or agent,” and

more. The FRA makes her “the chief executive officer of the bank [to whom] all other executive



31
  These conditional allegations further show why the constitutional claims are not ripe. Even if
Reserve Bank directors were the decisionmakers—which plaintiff does not allege—it requires
speculation to predict which directors would make a decision, since, inter alia, they are subject to
various limits on participating in matters involving conflicts of interest. E.g., 18 U.S.C. § 208(a).
32
  In fact, the Class A directors whom plaintiff accuses of bias are barred from participating in
the appointment of FRBKC’s president. See 12 U.S.C. § 341(fifth).
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officers and all employees of the bank shall be directly responsible,” 12 U.S.C. § 341(fifth),

which at the time of the statute’s enactment was understood to encompass authority to control

the conduct of a bank’s business, including matters relating to deposits. See, e.g., Phillips v.

United States, 201 F. 259, 265 (8th Cir. 1912) (“The defendant . . . was the chief executive

officer of the bank, and as such actually had control and direction of its affairs while it was a

going concern.”); U.S. Nat’l Bank of N.Y. v. First Nat’l Bank of Little Rock, 79 F. 296, 299 (8th

Cir. 1897) (bank’s president, as chief executive officer, may “indorse notes and bills, draw drafts

and checks, certify checks, or issue certificates of deposit” (emphasis added)). This is

unsurprising; as plaintiff alleges, it has been FRBKC’s “President and Chief Executive

Officer”—and not its directors—with whom it has met with respect to its master account request

and whom it has “urged . . . to consider Custodia’s application.” Compl. ¶¶ 41-42.

       Moreover, plaintiff’s claim fails because even if the directors it focuses on were relevant

decisionmakers, which they are not, they constitute a minority of the Reserve Bank’s board,

holding only three directorships, with the other six required to “represent the public” or the non-

banking interests of “agriculture, commerce, industry, services, labor, and consumers.”

12 U.S.C. § 302. They are also subject to supervision, suspension, and removal by the Board, id.

§ 248(f), (j), which plaintiff does not allege is a competitor. The Board has construed its powers

as allowing it to order directors’ recusal from matters that may present conflicts of interest, even

where their participation is expressly authorized by statute, see, e.g., Board of Governors of the

Federal Reserve System, DIRECTORS – Appointment of Reserve Bank Presidents and First Vice

President (Feb. 9, 2017)33 (barring certain Class B directors from participating in the selection of




33
  https://www.federalreserve.gov/aboutthefed/directors/PDF/appointment-of-reserve-bank-
presidents-first-vice-presidents.pdf.
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Reserve Bank presidents due to potential conflicts of interest).

       Plaintiff’s reliance on Ass’n of American Railroads v. DOT, 821 F.3d 19 (D.C. Cir.

2016), Compl. ¶ 113, is therefore misplaced. In that case, the court held that giving Amtrak the

ability to impose its decisions on competing railroads violated due process. 821 F.3d at 31. But

it subsequently held that striking a portion of the offending statute in a manner that left Amtrak

unable to unilaterally impose its will without concurrence of a disinterested party, the Federal

Railroad Administration, cured any constitutional defect. Ass’n of Am. R.R.s v. DOT, 896 F.3d

539, 546, 548 (D.C. Cir. 2018). In so doing, it explained that the stricken provision had left the

Railroad Administration unable to “temper or prevent Amtrak from adopting measures that

promoted its own self-interest at the expense of its freight railroad competitors.” Id. at 545. But

by severing this provision, Amtrak could not act without the Administration’s concurrence, and

such “joint action” requiring assent of a disinterested party was permissible. Id. (citations

omitted). Since the Reserve Bank directors alleged to be biased are a minority, even if they were

to participate in the decision they would be outnumbered by disinterested directors and thus

cannot impose their will unilaterally; moreover, any threat of bias is further “temper[ed]”

because all directors are subject to supervision by another disinterested party—the Board—

which can order their recusal if it perceives an actual or potential conflict of interest.

       B.      Plaintiff Fails to State a Claim for Improper Delegation of Legislative Power

       Plaintiff’s contention that Congress has improperly delegated its legislative authority by

failing to set “intelligible principles,” Compl. ¶¶ 93, 95 (citing U.S. Const. art. I § 1), is wrong.

Except for two rulings issued in 1935, the Supreme Court has consistently “upheld . . . without

deviation, Congress’ ability to delegate power under broad standards.” See Mistretta v. United




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States, 488 U.S. 361, 373 (1989).34 Such standards can be phrased in extremely general terms.

See Whitman, 531 U.S. at 474 (“[W]e have found an ‘intelligible principle’ in various statutes

authorizing regulation in the ‘public interest.’”). Nor must the standards appear in the specific

provision at issue. For example, a guiding principle can be inferred from legislative history,

United States v. Roberts, 185 F.3d 1125, 1137 (10th Cir. 1999), or an implied requirement to

“fit” action under the provision to objectives and requirements of the overall statutory scheme of

which it is a part. See United States v. Brown, 348 F.3d 1200, 1217 (10th Cir. 2003) (“implicit in

the delegation of authority was that the regulations would ‘fit’ within the rest of the tax laws”).

       The authority to accept deposits in 12 U.S.C. § 342, which is the basis for Reserve

Banks’ authority to open accounts, is clearly subject to sufficient intelligible principles to pass

master under this standard. To begin with, the provision itself identifies the types of institutions

from which deposits can be accepted and the manner in which funds may be deposited. Id.

Congressional intent and the overall statutory scheme provide additional guiding principles. For

example, the FRA stated that the enacting Congress intended, among other goals, “to furnish an

elastic currency [and] establish a more effective supervision of banking in the United States.” 38

Stat. 251. It was subsequently amended to identify a monetary policy of “accommodating

commerce and business and with regard to their bearing upon the general credit situation of the




34
   An alleged violation of Article I § 1 results from Congress improperly giving the Executive
too much interpretive power by enacting a vague statute lacking an “intelligible principle,” and
thus on the two occasions when the Supreme Court found such a delegation unconstitutional, it
struck the offending statute. See Mistretta, 488 U.S. at 373. But plaintiff oddly asserts that the
purported violation here is a failure to exercise interpretive authority by the defendants whom it
wants compelled to process its request under “constitutionally required discernable standards.”
Compl. ¶¶ 96-97, 101. It does not challenge Reserve Banks’s authority to accept deposits. It
thus is unclear how the Court could grant any relief on this claim, further undermining Plaintiff’s
standing. See Murphy v. NCAA, 138 S. Ct. 1461, 1482 (2018) (courts “cannot rewrite a statute”);
cf. Compl. ¶¶ 53, 79 (claiming that no new standards could be applied to plaintiff’s request).
                                                 38
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country.” 12 U.S.C. § 263(c). Other provisions of the banking laws implicate additional policy

goals as significant as ensuring the financial stability of the economy as a whole. E.g., 12 U.S.C.

§ 5322(a)(1). The Board’s Guidelines with respect to master account requests, in fact, reflect an

effort to “fit” the exercise of Reserve Bank discretion to some of these broader goals. See, e.g.,

Guidelines at 2 (noting, inter alia, that the Guidelines are meant to facilitate policy goals related

to “effectively implementing monetary policy [and] promoting financial stability”). The

authority to open master accounts is thus not an improper delegation of legislative power.

        C.     Plaintiff Fails to State a Claim for Violation of the Appointments Clause

        Plaintiff contends that the FRA, which allows the decision on whether to grant it an

account to be made by an FRBKC official not subject to Presidential appointment and Senate

confirmation, violates the Appointments Clause, U.S. Const. art. II, § 2, cl. 2. Compl. ¶ 126.

But plaintiff is wrong—the master account decision does not implicate the Clause in light of

historical practice indicating that similar decisions may be made by officials not appointed under

the Clause. And even if the Clause were implicated, FRBKC’s president is authorized by law to

make the decision on whether to grant a master account, see Part IV.A.4., supra, and her ability

to make this decision does not render her a “principal officer” who must be nominated by the

President and confirmed by the Senate. The Board’s removal powers vis-à-vis the FRBKC

president (on their own or in combination with its supervisory powers over FRBKC) mean that,

at most, she is an inferior officer, and the manner in which she was elevated to her role as

president of FBRKC complies with the Clause’s requirements as to the appointments of such

officers.

        As an initial matter, a Reserve Bank’s decision on whether to open a master account does

not implicate the Clause at all, as shown by practice under the First Congress. Indeed, not all



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exercises of statutorily authorized actions by government-affiliated entities necessarily implicate

the type of power that only officers subject to the Clause may wield, much less the requirement

of presidential nomination and Senate confirmation required for “principal” officers. See, e.g.,

Fin. Oversight & Mgmt. Bd. for P.R. v. Aurelius Inv., LLC, 140 S. Ct. 1649, 1654-55 (2020)

(offices with purely local responsibilities in D.C. and U.S. territories not subject to the Clause).

The First Congress’ establishment of the First Bank of the United States indicates that a decision

on whether to open an account at a government-affiliated bank is not the type of sovereign power

implicating the Clause.35 Such practice by “men who were contemporary with [the

Constitution], many of whom were members of the convention which framed it, is of itself

entitled to very great weight.” Golan v. Holder, 565 U.S. 302, 321 (2012); see also Aurelius,

140 S. Ct. at 1659 (citing legislation by the First Congress in construing scope of the Clause).

       Specifically, the First Congress passed an “Act to incorporate the subscribers to the Bank

of the United States,” Act of Feb. 25, 1791, Pub. L. No. 1-10, 1 Stat. 191, which created an entity

whose notes were accepted as payment to the government, and which was granted the exclusive

right to bank under such “full faith of the United States.” Id. §§ 10, 12, 1 Stat. at 196. In this

respect its notes were not unlike Federal Reserve notes, which are “receivable . . . for all taxes,

customs, and other public dues.” 12 U.S.C. § 411. The bank was expected to serve a number of

public goals. Act of Feb. 25, 1791, 1 Stat at 191 (noting Congressional expectation that the bank

would facilitate the “successful conducting of the national finances” and “give facility to the

obtaining of loans, for the use of the government, in sudden emergencies”). Like Reserve Banks,




35
  Cf. Thacker v. Tennessee Valley Auth., 139 S. Ct. 1435, 1442 (2019) (“[T]he discretionary acts
of hybrid entities like the TVA may be not governmental but commercial in nature.”)
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it was authorized to accept deposits. Id. § 7(XV), 1 Stat. at 195.36

          The Act provided for appointment of the bank’s leadership without utilizing the

procedures of the Appointments Clause. Its directors were elected by shareholders, id. § 4, 1

Stat. 192-93, rather than being subject to Senate confirmation or appointment by the President or

Head of Department, and the directors in turn selected the bank’s president; see also id. §§ 7(I),

11, 1 Stat. 193, 196 (limiting the government’s ownership share and thereby precluding it from

electing a majority of the directors). The decision not to conform to the Appointments Clause

was intentional; Treasury Secretary Alexander Hamilton explained to Congress that “[t]o attach

full confidence to an institution of this nature, it appears to be an essential ingredient in its

structure, that it shall be under a private, not a public direction . . . .”37 Report on a National

Bank (Dec. 14, 1790), in Legislative and Documentary History of the Bank of the United States

29 (Clark & Hall eds., 1832).38

          The First Congress’ decision not to make the 1791 Act comport with the Appointments

Clause indicates that the banking functions it authorized—although meant to serve public

purposes—do not implicate the Clause. Cf. Aurelius, 140 S. Ct. at 1659 (legislation by the First

Congress for filling territorial offices using procedures not provided under the Appointments

Clause indicates that the Clause does not apply to such offices). Contemporaneous criticism

focused on whether Congress could or should charter a bank, and not on any purported failure



36
  The only limit on such deposit-taking was that branch offices had to accept such deposits
“upon the same terms, and in the same manner, as at the Bank.” Id.
37
  It is hardly surprising that the Founders did not view the bank as exercising the type of
governmental power implicating the Clause; its charter was modeled on that of the national bank
with which they were most familiar—the Bank of England—which was privately owned despite
performing quasi-public functions. Stephen K. Halpert, The Separation of Banking and
Commerce Reconsidered, 13 J. Corp. L. 481, 491 (1988).
38
     https://fraser.stlouisfed.org/title/legislative-documentary-history-bank-united-states-3632.
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comply with the Clause. See, e.g., Edmund Randolph, Attorney General of the United States,

Opinion to President Washington (Feb. 12, 1791), in Legislative and Documentary History 86

(“It must be acknowledged, that, if any part of the bill does either encounter the constitution, or

is not warranted by it, the clause of incorporation is the only one.”). When the Supreme Court

subsequently addressed the constitutionality of a second bank chartered in 1816, it cited to the

First Congress’ enactment of the 1791 Act as evidence that the statute was constitutional,

M’Culloch v. Maryland, 17 U.S. 316, 402 (1819), although the second bank was given more

resources and more public responsibilities.39 The First Congress’ manner of providing for

selection of leaders of a bank created for public purposes and authorized by statute to accept

deposits thus substantially refutes Plaintiff’s assertion that FRBKC’s decision to open a master

account for purposes of accepting deposits implicates the Appointments Clause.

       Moreover, even if the Appointments Clause were implicated by a decision on a master

account, the authority to make the decision lies with FRBKC’s President, whose appointment

comports with the Clause. Her appointment required approval of the Board of Governors. See

12 U.S.C. § 341(fifth). Such approval by the Board, which heads a federal agency, meets the

Clause’s requirement that “Congress may by Law vest the Appointment of such inferior Officers,

as they think proper . . . in the Heads of Departments.” U.S. Const. art. II, § 2, cl. 2; Free Enter.



39
  For example, the second bank’s capitalization was 250% greater than the first bank’s, compare
Act of Feb. 25, 1791 § 1, 1 Stat. 191 with Act of Apr. 10, 1816, Pub. L. No. 14-1, § 1, 3 Stat.
266, and it was expressly required to provide “necessary facilities for transferring the public
funds from place to place, within the United States . . . and for distributing the same in payment
of the public creditors.” Act of Apr. 10, 1816 § 15, 3 Stat. 269, 274. The 1816 Act required
presidential nomination and Senate confirmation for five directors, but gave private shareholders
the power to elect the remaining twenty directors, with the directors electing a bank president, id.
§ 8, 3 Stat. 269-70, thus continuing to vest overall control of the bank in officials not installed in
accordance with the Appointments Clause. The House had rejected a provision that would have
required the bank’s president to be one of the directors chosen by the government. See On the
Grant of Charter of 1816 (Mar. 6, 1816), in Legislative and Documentary History 666-67.
                                                 42
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Fund v. PCAOB, 561 U.S. 477, 512-13 (2010) (a multimember body heading an independent

agency is a “Head of Department” for Appointments Clause purposes); id. at 512 n.13 (Head of

Department approval of selection by another official satisfies the Clause (citing United States v.

Hartwell, 73 U.S. 385, 393-94 (1867) and other cases)).

       Plaintiff’s reliance on United States v. Arthrex, Inc., 141 S. Ct. 1970 (2021), to argue that

an FRBKC official responsible for the final decision on its request for a master account is a

“principal officer,” Compl. ¶ 123, is misplaced. The statute at issue in Arthrex allowed for final

decisions made by officials whom a department head could not “meaningfully control . . .

because she can fire them only ‘for such cause as will promote the efficiency of the service.’”

141 S. Ct. at 1972 (quoting 5 U.S.C. § 7513(a)). But the Board may remove FRBKC’s president

or other officials without such restrictions and thereby “meaningfully control” their actions.

Specifically, the Board may “suspend or remove any officer or director of any Federal reserve

bank, the cause of such removal to be forthwith communicated in writing by the Board of

Governors of the Federal Reserve System to the removed officer or director and to said bank.”

12 U.S.C. § 248(f). It thus is not restricted to removal only “for such cause as will promote the

efficiency of service,” as in Arthrex. The Executive Branch construes section 248(f) as allowing

the Board to remove FRBKC officials at will, Appointment & Removal of Fed. Reserve Bank

Members of the FOMC, 2019 WL 11594453, at *7 (Op. O.L.C. Oct. 23, 2019), consistent with

judicial construction of similar language in 12 U.S.C. § 2 allowing the President to remove the

Comptroller of the Currency “upon reasons to be communicated by him to the Senate.” Collins

v. Yellen, 141 S. Ct. 1761, 1785 n.19 (2021) (Comptroller “removable at will by the President”).

       The ability to remove FRBKC’s president, together with the Board’s supervisory




                                                43
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authority over Reserve Banks, 12 U.S.C. § 248(j),40 is sufficient to render her an inferior officer

rather than a principal officer. Arthrex expressly characterized its holding as applying to the

combination of “significant authority” assigned to the officials at issue with legal provisions

“insulating their decisions from review and their offices from removal.” 141 S. Ct. at 1985

(citation omitted) (emphasis added). In fact, the Arthrex Court reaffirmed its prior holdings that

it has not “set forth an exclusive criterion for distinguishing between principal and inferior

officers for Appointments Clause purposes.” Id. at 1985 (quoting Edmond v. United States, 520

U.S. 651, 661 (1997)); see also id. at 1987 (declining to determine whether “at-will removal by

the Secretary would cure the constitutional problem” because striking a different provision

“better reflect[ed] the structure of supervision within the [agency] and the nature of [the

official’s] duties”). Importantly, Arthrex noted that “the threat of removal from federal service

entirely” can allow for “meaningful” control. Id. at 1972; see also Edmond, 520 U.S. at 664

(“The power to remove officers . . . is a powerful tool for control.” (citations omitted)).

       Thus, Arthrex did not call into question the validity of the lower court’s reasoning that

sufficiently broad removal powers can render officials who make unreviewable final decisions

inferior officers, Arthrex, Inc. v. Smith & Nephew, Inc., 941 F.3d 1320, 1337-38 (Fed. Cir. 2019),

as well as other rulings reaching the same conclusion. See, e.g., Fleming v. USDA, 987 F.3d

1093, 1103 (D.C. Cir. 2021) (rejecting a categorical argument that “an inferior officer’s

decisions must be subject to review by a principal officer” where at-will removal and other

provisions allow for meaningful control); Intercollegiate Broad. Sys., Inc. v. Copyright Royalty

Bd., 684 F.3d 1332, 1341 (D.C. Cir. 2012) (ability of agency head to provide some guidance,



40
  The Board’s general supervisory powers are extremely broad. See Fraternal Ord. of Police,
391 F. Supp. 2d at 5-6. The Board also controls Reserve Bank operating budgets and salaries, 12
U.S.C. §§ 248a(d), 307, and has exclusive rulemaking authority under the FRA. Id. § 248(i), (k).
                                                 44
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combined with at-will removal, was sufficient to make official whose decision was unreviewable

an inferior officer); see also Sanofi-Aventis U.S., LLC v. DHHS, 570 F. Supp. 3d 129, 180-81

(D.N.J. 2021) (citing at-will removal power as grounds for distinguishing Arthrex). Here, as in

Intercollegiate Broadcasting System, the Board has construed its supervisory authority over

Reserve Banks as allowing it to provide guidance to Reserve Bank officials in various ways, and

has in fact issued guidance concerning the grant of master accounts. Combined with its removal

power over FRBKC’s president, this level of supervision means that she is not a principal officer

even if the Appointments Clause were to apply to the decision and even though she exercises

final decisionmaking authority in this matter.41

                                         CONCLUSION

       For the foregoing reasons, the Board respectfully requests that the case be dismissed.



41
   Historical practice further undermines plaintiff’s assertion that the decision at issue must be
made by a principal officer. See NLRB v. Noel Canning, 573 U.S. 513, 524 (2014) (“long settled
and established practice . . . of at least twenty years duration on the part of the executive
department, acquiesced in by the legislative department is entitled to great regard in determining
the true construction of a constitutional provision” concerning the separation of powers (cleaned
up)). Besides the 40 years that the Banks of the United States operated under leadership
primarily elected by private shareholders, the 1913 FRA provided for Senate confirmation of the
Board’s Governors but not of any Reserve Bank officials. FRA §§ 3, 4, 10, 38 Stat. 253-57, 260-
1. The FRA has never provided otherwise despite numerous amendments over more than a
century, including ten subsequent statutes specifically addressing the provisions governing
selection or appointment of Board and Reserve Bank officials that were enacted between 1917
and 2015. See Act of June 21, 1917, Pub. L. No. 65-25, §§ 2-3, 40 Stat. 232; Act of Sept. 26,
1918, Pub. L. No. 65-218, § 1, 40 Stat. 967-68; Act of June 3, 1922, Pub. L. No. 67-230, 42 Stat.
620-21; Act of June 26, 1930, Pub. L. No 71-435, 46 Stat. 814, 815-16; Banking Act of 1933,
Pub. L. No. 73-66, §§ 3(b), 6(a)-(b), 48 Stat. 162, 163-64, 166-67; Banking Act of 1935, Pub. L.
No. 74-305, §§ 201, 203(b)-(c), 49 Stat. 684, 703-05; Act of July 1, 1966, Pub. L. No. 89-485,
§ 13(e), 80 Stat. 236, 243; Act of Nov. 16, 1977, Pub. L. No. 95-188, §§ 202, 204, 91 Stat.
1387-88; Dodd-Frank Wall Street Reform and Consumer Protection Act §§ 1107, 1108(a)(1),
124 Stat. 1376, 2126; Terrorism Risk Insurance Program Reauthorization Act of 2015, Pub. L.
No. 114-1, § 109, 129 Stat. 3, 9. Thus, for the majority of the time that the Republic has existed,
Congress and the Executive Branch have acquiesced in a regime under which government-
affiliated banks serving public goals could render decisions about opening deposit accounts,
without requiring that these banks be under the control of Senate-confirmed leadership.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 16, 2022, I electronically filed the foregoing using the

court’s CM/ECF system, which will send notification of such filing to all parties of record.


                                             By:      /s/ Joshua P. Chadwick
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